       Case 19-20427-tnw                     Doc 131 Filed 10/18/21 Entered 10/18/21 13:19:54                                 Desc Ch 7
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Information to identify the case:

Debtor 1:
                      Steven D. Young                                              Social Security number or ITIN:   xxx−xx−4551
                                                                                   EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name     Last Name

Debtor 2:                                                                          Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)                                                                EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Eastern District of Kentucky                Date case filed in chapter:        13       4/4/19
                                                                                   Date case converted to chapter:
Case number:           19−20427−tnw                                                                                    7     10/15/21


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                   About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                       Steven D. Young

2.        All other names used in the
          last 8 years

3.      Address                                   67 Stonegate Dr.
                                                  Florence, KY 41042

4.      Debtor's attorney                          G. Aaron Huff                                        Contact phone (859) 647−0713
                                                   HUFF LAW OFFICE
        Name and address                           7430 U.S. Hwy 42                                     Email: ahufflaw@gmail.com
                                                   Suite 107
                                                   Florence, KY 41042

5.      Bankruptcy trustee                         L. Craig Kendrick                                    Contact phone (859) 371−4321
                                                   8459 US 42
        Name and address                           Suite F, #311                                        Email: craigkendrick@fuse.net
                                                   Florence, KY 41042

6.    Bankruptcy clerk's office                   United States Bankruptcy Court                         Hours open:
                                                  Eastern District of Kentucky                           9:00am − 3:00pm, Monday − Friday
      Documents in this case may be filed         100 E Vine Street Ste 200
      at this address. You may inspect all        Lexington, KY 40507−1430                               Contact phone (859) 233−2608
      records filed in this case at this office
      or online at pacer.uscourts.gov.
                                                                                                         Date: 10/18/21
                                                                                                               For more information, see page 2 >
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        Case 19-20427-tnw                   Doc 131 Filed 10/18/21 Entered 10/18/21 13:19:54                                               Desc Ch 7
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Debtor Steven D. Young                                                                                                         Case number 19−20427−tnw

7. Meeting of creditors                     November 10, 2021 at 10:30 AM                                            Location:

     Debtors must attend the meeting to     The meeting may be continued or adjourned to a later                     Telephonic Meeting of Creditors,
     be questioned under oath. In a joint   date. If so, the date will be on the court docket.                       please call five minutes in
     case, both spouses must attend.
     Creditors may attend, but are not                                                                               advance, Conference Number:
     required to do so.                                                                                              866−711−5520, Passcode:
                                                                                                                     2158743#
8.              Presumption of abuse                              Insufficient information has been filed to date to permit the
                                                                  clerk to make any determination concerning the presumption
                If the presumption of abuse arises, you may       of abuse. If more complete information, when filed, shows
                have the right to file a motion to dismiss the    that the presumption has arisen, creditors will be notified.
                case under 11 U.S.C. § 707(b). Debtors may
                rebut the presumption by showing special
                circumstances.

9. Deadlines                                File by the deadline to object to discharge or to                         Filing deadline: 1/10/22
                                            challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any
     required filing fee by the following   You must file a complaint:
     deadlines.
                                            • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                              subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                            • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4) or (6).

                                            You must file a motion:
                                            • if you assert that the discharge should be denied under § 727(a)(8) or (9).

                                            Deadline for all creditors to file a proof of claim                       Filing deadline: 12/28/21
                                            (except governmental units):
                                            Deadline for governmental units to file a proof of                        Filing deadline: 4/13/22
                                            claim:

                                            Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                            not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                            that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                            claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                            example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                            right to a jury trial.


                                            Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                            The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                            believe that the law does not authorize an exemption claimed, you
                                            may file an objection.

10. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                  asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                             United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's              The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                  property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                        some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                             ensure you receive any share of that money, you must file a proof of claim as described
                                             above.
12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                             sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                             may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an
                                             objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                             to exemptions in line 9.
13. Options to Receive Notices               (1) Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov
    served by the Clerk by                   OR (2) Debtors can register for Debtor Electronic Bankruptcy Noticing (DeBN) by filing a
    Email Instead of by U.S.                 local form with the Clerk of Court. DeBN information and local form are available at
    Mail                                     kyeb.uscourts.gov/debtor−electronic−bankruptcy−noticing−debn. Both options are FREE
                                             and allows the clerk to quickly send you court−issued notices and orders by email.
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